
USCA1 Opinion

	




          October 19, 1994      [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 93-2005                              UNITED STATES OF AMERICA,                                      Appellee,                                          v.                                   GEORGE P. AMADO,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF RHODE ISLAND                 [Hon. Francis J. Boyle, Senior U.S. District Judge]                                         __________________________                                 ____________________                                        Before                                Torruella, Chief Judge,                                           ___________                                Boudin, Circuit Judge,                                        _____________                           and Barbadoro,* District Judge.                                           ______________                                 ____________________            Robert J. Carnes, by Appointment of the Court, for appellant.            ________________            Margaret E.  Curran, Assistant United  States Attorney, with  whom            ___________________        Sheldon  Whitehouse, United  States  Attorney,  and Zechariah  Chafee,        ___________________                                 _________________        Assistant United States Attorney, were on brief for the United States.                                 ____________________                                 ____________________                                    ____________________        *Of the District of New Hampshire, sitting by designation.                 Per Curiam.  On  March 13, 1993, a severe  snowstorm hit                 __________            Rhode Island.  About 4:00 p.m., near North Providence, police            officer  Christopher  Conaty  noticed  a  small  blue   Dodge            operating erratically and skidding sideways into the oncoming            traffic lane  while attempting  a turn.   Conaty  stopped and            asked  the  driver,  John   Revertes,  for  his  license  and            registration,  which Revertes  could not  produce.   Revertes            said that  he was  going to  the hospital  to visit his  sick            daughter,  but he was unable or unwilling to provide the name            of his  daughter.  Following standard  procedure, the officer            called in Revertes' name  and plate number over his  radio to            determine whether  the vehicle was registered  and whether it            had been stolen.                 George Amado, the defendant-appellant  in this case, was            a passenger  in the back seat of  the Dodge.  Conaty remained            at or near the Dodge while  awaiting a response to his  call.            Before Conaty  received the information from  the radio call,            he noticed that Amado  was moving his hands furtively  in and            out of  his leather  coat.   Conaty also  noticed a bulge  in            Amado's  coat.  He  asked Amado to remove  his hands from his            coat;  Amado at first complied but then refused.  Conaty drew            his gun and ordered Amado to take his hands out  of his coat.            He  called  for  backup  assistance,  which   arrived  almost            immediately.                                         -2-                                         -2-                 Conaty and the other  officers ordered the occupants out            of the  car one at  a time.  Because  he was seated  in back,            Amado was  the last  to get  out.  As  Amado exited  the car,            Conaty  grabbed him  by the back  of the  jacket to  lead him            around  the car  to  be frisked.    Amado lunged  at  Conaty,            shrugged  out of his jacket, and fled.  Amado was apprehended            after a chase.   During the struggle, a clear  bag containing            what  appeared  (and turned  out) to  be narcotics--actually,            both  cocaine and heroin--fell to  the ground.   The bulge in            his  jacket had been caused by a cellular phone and a beeper.            The entire encounter took between five and ten minutes.                 Amado was indicted  by a  grand jury on  April 1,  1993.            His  motion to  suppress the  drugs was  heard and  denied on            June 21,  1993, after  the  facts set  forth  above had  been            adduced.   Four days later  he entered a  conditional plea of            guilty  to one count of  possession with intent to distribute            cocaine and one count of possession with intent to distribute            heroin, in violation of  21 U.S.C.    841(a)(1) &amp;  (b)(1)(C).            Amado  reserved  his  right  to  appeal  the  denial  of  the            suppression   motion.    Fed.  R.  Crim.  P.  11(a)(2).    On            September 10,  1993, he  received  a sentence  of 27  months'            imprisonment.                 On  this appeal, Amado  challenges the  district judge's            denial of his  suppression motion.   We think  it is  obvious                                         -3-                                         -3-            that  the seizure of Amado's drugs did not violate the Fourth            Amendment.  Only three points raised require comment.                 The  initial stop of the  car in which  Amado was riding            was lawful.  The district court found that the police officer            witnessed  a  traffic violation  in  the  midst of  unusually            hazardous driving  conditions.   See Delaware v.  Prouse, 440                                             ___ ________     ______            U.S.  648,  659,  661  (1979) (finding  a  traffic  violation            grounds for a stop); United States v. Lott, 870 F.2d 778, 784                                 _____________    ____            (1st  Cir. 1989) (same).  A district court's findings of fact            at a suppression hearing are reviewed for clear error, United                                                                   ______            States v. Kimball,  25 F.3d 1, 6 (1st Cir.  1994); here there            ______    _______            is no  indication of error  at all.   Conaty might  have been            remiss in his duties had he not stopped the car.                 The  length and scope of the detention after the car was            stopped  were likewise  justified.   The entire  episode took            less  than   ten  minutes.    When   Conaty  noticed  Amado's            suspicious behavior, he had not  yet received the results  of            the radio  check on the  vehicle registration.   Revertes had            not produced a valid  registration, and Conaty could properly            detain the vehicle  until he  found out whether  the car  had            been  stolen.   There  is nothing  in  the Constitution  that            requires  a  police officer  who halts  a  car driven  by one            individual to ignore suspicious indications of other criminal            activity or a threat to the officer from a passenger.                                         -4-                                         -4-                 Once Conaty witnessed  Amado's furtive  actions, he  had            grounds to  stop and frisk him.   The bulge  in Amado's coat,            his failure  to remove  his hand,  and his  furtive movements            permitted Conaty  reasonably to conclude that  Amado might be            armed and  dangerous.   See Pennsylvania  v. Mimms,  434 U.S.                                    ___ ____________     _____            106,  111-12 (1977)  (finding reasonable  suspicion to  order            defendant  out of  a car  and  frisk him  based on  a traffic            violation and a bulge  in his jacket).  At that point, Conaty            was justified in ordering  the passengers out of the  car and            attempting to  frisk Amado.   We find that  each step in  the            process  that  led to  the seizure  of  drugs from  Amado was            justified.                 Affirmed.                 ________                                         -5-                                         -5-

